              Case 2:12-cv-01282-JLR Document 790 Filed 02/01/24 Page 1 of 2



 1                                                                    The Honorable James L. Robart

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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

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 9
       UNITED STATES OF AMERICA,                         Case No. C12-1282 JLR
10
                           Plaintiff,                  COMMUNITY POLICE
11                                                     COMMISSION’S MEMORANDUM AND
              v.                                       EXHIBIT COMMENTING ON
12                                                     MONITOR’S DECEMBER 2023
       CITY OF SEATTLE,                                REPORT
13
                           Defendant.
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     TO:           Clerk of the Court
17
     AND TO:       All Parties and Counsel of Record
18
            Amicus curiae Seattle Community Police Commission submits this memorandum attaching
19
     as Exhibit 1 a letter signed by the CPC Co-Chairs addressing certain issues raised in the Seattle
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21   Accountability System Sustainability Assessment, submitted by the Federal Monitoring Team to

22   the Court December 29, 2023 (Dkt #782).
23          DATED February 1, 2024               Respectfully submitted,
24
                                                 By: /s/ Edgar Sargent
25                                                  Edgar G. Sargent, WSBA #28283
                                                    esargent@susmangodfrey.com
26                                                  Daniel J. Shih, WSBA #37999
                                                    dshih@susmangodfrey.com
27                                                  Floyd G. Short, WSBA # 21632
      COMMUNITY POLICE COMMISSION’S MEMORANDUM AND                 SUSMAN GODFREY L.L.P.
      EXHIBIT COMMENTING ON MONITOR’S DECEMBER 2023                401 Union Street, Suite 3000
      REPORT - 1                                                   Seattle, WA 98101-3000
      Case No. C12-1282 JLR                                        Tel: (206) 516-3880; Fax: (206) 516-3883
                Case 2:12-cv-01282-JLR Document 790 Filed 02/01/24 Page 2 of 2



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                                                         Drew D. Hansen, WSBA #30467
 2                                                       dhansen@SusmanGodfrey.com
                                                         SUSMAN GODFREY L.L.P.
 3                                                       401 Union Street, Suite 3000
                                                         Seattle, WA 98101
 4                                                       Phone: (206) 516-3880
                                                         Fax: (206) 516-3883
 5

 6                                      CERTIFICATE OF SERVICE

 7             I hereby certify that on February 1, 2024, I electronically filed the foregoing with the Clerk
 8   of the Court using the CM/ECF system, which will send notification of such filing to all counsel of
 9
     record.
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11                                                   /s/Edgar Sargent

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      COMMUNITY POLICE COMMISSION’S MEMORANDUM AND                      SUSMAN GODFREY L.L.P.
      EXHIBIT COMMENTING ON MONITOR’S DECEMBER 2023                     401 Union Street, Suite 3000
      REPORT - 2                                                        Seattle, WA 98101-3000
      Case No. C12-1282 JLR                                             Tel: (206) 516-3880; Fax: (206) 516-3883
